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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ALABAMA
                                 SOUTHERN DIVISION

JPMORGAN CHASE BANK, N.A.,              *
                                        *
           Plaintiff,                   *
                                        *      CIVIL ACTION NUMBER:
vs.                                     *
                                        *        CV:    11-126
AIG BAKER ORANGE BEACH                  *
WHARF, L.L.C.,                          *
                                        *
           Defendant.                   *

                                      COMPLAINT

           Comes    now   JPMorgan   Chase    Bank,    N.A.    (the   “Lender”   or

“Chase”), and for its Complaint against AIG Baker Orange Beach

Wharf, L.L.C., (the “Borrower” or “Wharf, L.L.C.”), states as

follows:

                          PARTIES, JURISDICTION AND VENUE

           1.   Chase     is   a   national   banking    association    organized

under the laws of the United States with its main office in

Columbus, Ohio.           As set out in Paragraphs 2 and 3, no defendant

is a citizen of Ohio for diversity purposes.

           2.      The Borrower is a limited liability company organized

under the laws of the State of Delaware with its principal place

of business in Baldwin County, Alabama.                       The sole member of

Wharf, L.L.C. is AIG Baker Shopping Center Properties, L.L.C., a

Delaware limited liability company, which is wholly owned by the




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Partnership; therefore, for diversity purposes, Wharf L.L.C. is

a citizen of Delaware and Alabama.

       3.   The amount in controversy, exclusive of interest and

costs, exceeds $75,000.00

       4.   This    Court   has     original             jurisdiction      of    this   case

pursuant to 28 U. S. C. §1332.

       5.   Venue is proper pursuant to 28 U. S. C. §1391(a)(2).

                              NATURE OF ACTION

       6.   Chase made an acquisition and construction loan to the

Borrower which is secured by, inter alia, a first mortgage on

real estate situated in Orange Beach, Alabama.                        Chase files this

Complaint in order to enforce its rights and remedies under the

loan   documents     executed      in    connection          with    the     loan   and    to

preserve the value of the property secured by its mortgage.

Chase seeks a judgment against the Borrower for the principal

indebtedness       outstanding     under           the     loan,    plus     accrued      and

accruing    interest,       late        charges,          expenses      of      collection,

including attorneys’ fees, and costs, as well as the appointment

of a receiver of the property securing the first mortgage.

                             FACTUAL ALLEGATIONS

       7.   Wharf, L.L.C. is a limited liability company organized

to own and develop real estate located in Orange Beach, Alabama.

       8.   On or about October 27, 2005, Chase made a loan to the

Borrower in the original amount of $84,185,000.00 (the “Loan”)


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for the acquisition of certain real property and construction of

a retail shopping center and related facilities, all located in

Orange Beach, Alabama and commonly known as the retail portion

of the Wharf (the “Project” or the “Property”).

     9.      The Loan is evidenced by that certain Promissory Note

(the “Note”) dated October 27, 2005 in the principal amount of

the Loan made by the Borrower in favor of Chase, and by that

certain    Construction          Loan      Agreement           executed    by   and   between

Chase and Borrower dated October 27, 2005, as modified by that

certain Amended and Restated Construction Loan Agreement (the

“Loan Agreement”) executed by and between Chase and the Borrower

and dated as of October 26, 2008.                          A true and correct copy of

the Note is attached hereto as Exhibit A.                               A true and correct

copy of the Loan Agreement, as amended, is attached hereto as

Exhibit B.

     10.    In     addition      to     the      Borrower’s        obligation      under   the

Note to pay the principal of and interest on the Loan, the Note

provides that the holder of the Note is entitled to recover its

costs     and    expenses,       including              attorneys’      fees    incurred    in

collecting the sums due under the Note.                         See Exhibit A.

     11.     The     Loan   is    secured          by     a    Future    Advance   Mortgage,

Assignment      of   Leases      and     Rents          and    Security    Agreement    dated

October 27, 2005 made by the Borrower in favor of Chase and

recorded in the Office of the Judge of Probate of Baldwin County


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at Instrument Number 934698 the (the “Mortgage”).                               A true and

correct copy of the Mortgage is attached hereto as Exhibit C.

      12.    The    Mortgage      is     in         first     priority      position      and

encumbers the property described in Exhibit A to the Mortgage.

      13.    Chase has filed UCC financing statements covering the

personal property collateral encumbered by the Mortgage in the

Office of the Secretary of State of Alabama and the Baldwin

County, Alabama real property records (the “UCC’s”).                                True and

correct copies of the UCC’s are attached hereto as Exhibit D.

      14.    In addition to the Note, the Loan Agreement, and the

Mortgage, the Loan documents include, among other documents, an

Environmental Risk Assessment dated October 27, 2005, executed

by   the    Borrower       in   favor   of         the     Lender,    and   a   Collateral

Assignment of Contracts and Plans and Other Agreements, dated

October     27,    2005,    executed     by        the     Borrower   in    favor    of   the

Lender, all of which are collectively referred to as “the Loan

Documents.”

      15.    A Guaranty was also executed by AIG/Baker Partnership

in connection with the Loan Documents.                        Chase asserts no claim

against the Guarantors in this action, and all claims against

the Guarantors are expressly reserved.

      16.    The amount outstanding on the Loan as of February 15,

2011, exclusive of attorneys’ fees, costs, protective advances

for taxes and insurance, and other charges is $54,439,038.46,


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consisting of principal in the amount of $50,435,651.00, and

accrued     interest   in    the   amount           of    $4,003,387.46.       Interest

continues to accrue at the rate of $5,972.42 per diem.                              Chase

has received no payments on the Loan since February 10, 2009.

                       COUNT I – BREACH OF CONTRACT

      17.    Chase adopts and incorporates all preceding paragraphs

as if fully set forth herein.

      18.    Default has occurred in the repayment of the Loan, the

maturity thereof has been accelerated, and all amounts due and

owing thereon are immediately payable.

      19.    Chase has made demand for payment of the outstanding

balance due on the Loan.

      20.    The Borrower is in default in the performance of its

obligations under the Loan Documents.

      21.    Despite written demand, the Borrower has failed to pay

Chase the amounts due under the terms of the Loan Documents.

      WHEREFORE, Chase demands judgment against the Borrower for

the   principal    indebtedness         outstanding          under   the    Loan,     plus

accrued     and   accruing     interest,             late    charges,      expenses     of

collection, including attorneys’ fees, and costs, as well as

such other, further and different relief to which Chase may be

entitled and is just and proper in this action.




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                       COUNT II – ATTORNEYS’ FEES

     22.   Chase     incorporates        and      re-alleges   all   preceding

paragraphs as if fully set forth herein.

     23.   Under the terms of the Loan Documents, the Defendant

is obligated to pay Chase’s cost of collecting the amounts due

under the Loan Documents, including attorneys’ fees and other

costs.

     WHEREFORE, Chase demands judgment against the Defendant,

for attorneys’ fees.

                   COUNT III – APPOINTMENT OF RECEIVER

     24.   Chase adopts and incorporates all preceding paragraphs

as if fully set forth herein.

     25.   Paragraph 6.10 of the Mortgage states:

          Upon the occurrence of an Event of Default or at
     any time after commencement of a foreclosure sale or
     any legal proceedings under this Mortgage, Mortgagee
     may, at Mortgagee’s election, make application to a
     court of competent jurisdiction for appointment of a
     receiver of the Property as a matter of strict right,
     without notice to Mortgagor and without regarding to
     the adequacy of the value of the Property for the
     repayment   of   the   Debt,   and   Mortgagor hereby
     irrevocably consents to such an appointment.      Any
     receiver shall have the usual powers and duties of
     receivers in similar cases, including the full power
     to possess, rent, maintain, repair and operate the
     Property upon such terms and conditions as may be
     approved by the court, and shall apply the rents
     realized in the same manner and order as foreclosure
     proceeds in accordance with Section 6.5.


See Exhibit C.



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       26.   Under the terms of the Mortgage, Borrower’s failure to

timely pay the indebtedness owed to Chase constitutes a default

under the Mortgage.     See Exhibit C.

       27.   Borrower has failed to cure the payment default within

the time prescribed by the Mortgage, entitling Chase to exercise

its right to the appointment of a receiver of the Property.

       28.   In   addition   to     Chase’s          contractual   right    to    the

appointment of a receiver of the Property, there are equitable

considerations which support the appointment of a receiver to

manage and operate the Property.                     Specifically, Borrower has

failed to efficiently manage and operate the Project securing

the indebtedness of Borrower to Chase.

       29.   The potential harm to Chase is the mismanagement of

the Project and the diminution in value of the Property.

       30.   Given that the Borrower apparently lacks sufficient

funds pay the amounts owing thereon, this harm is irreparable

and Chase has no adequate remedy at law to remedy the harm.

       31.   Furthermore, the potential harm to Chase outweighs any

conceivable harm to the Borrower.

       WHEREFORE, Chase demands judgment:

       (i)    appointing Greg T. Maloney (“Receiver”), of Jones

Lang    LaSalle    Americas,      Inc.       (“JLL”),     as   receiver     of    the

Property.




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      (ii)    authorizing Receiver to retain JLL as his property

manager, leasing agent, and sales agent.

      (iii)    authorizing Receiver immediately to enter upon and

take and maintain full control of the Property, to collect the

rents, income and profits derived therefrom, and to take all

other acts of Receiver specified in the Mortgage, as permitted

by applicable law or as ordered by this Court;

      (iv)    granting Receiver the power to:               (a) enter upon and

take possession and control of any and all of the Property; (b)

take and maintain possession of all documents, books, records,

papers and accounts relating to the Property; (c) exclude the

Borrower and any agent, servant or employee of the foregoing

wholly from the Property; (d) manage and operate the Property;

(e) preserve and maintain the Property; (f) make repairs and

alterations to the Property, as limited by subsection (j) below;

(g) undertake any construction or repair of the Property, with

such changes, additions or modifications of the Property as the

Receiver     may   deem   appropriate          or   desirable,   as   limited   by

subsection (j) below; (h) conduct a marketing or leasing program

with respect to all or a portion of the Property, directed to

the leasing or sale of all or portions of the Property under

such terms and conditions as Chase may in its sole discretion

deem appropriate or desirable; (i) conduct a Receiver’s sale of

the   Property;     (j)   employ     such        contractors,    subcontractors,


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materialmen,        architects,         engineers,                consultants,           managers,

brokers,      marketing       agents,           or      other        employees,            agents,

independent        contractors       or      professionals,              as    it    may       deem

appropriate or desirable to implement and effectuate the rights

and powers herein granted, provided that no contractors shall be

retained for performance of work expected to exceed an aggregate

of $10,000.00 on an annual basis without Chase’s prior approval;

(k) execute and deliver, in the name of Chase as attorney-in-

fact and agent of the Borrower or in its own name as trustee,

such documents and instruments as are necessary or appropriate

to    consummate     authorized         transactions;              (l)     enter     into      such

leases,     whether    of     real      or      personal           property,        or     tenancy

agreements, under such terms and conditions as Chase may in its

sole discretion deem appropriate or desirable; (m) collect and

receive     the    rents    and   profits           from     the     Property;       (n)      eject

tenants or repossess personal property, as provided by law, for

breaches of the conditions of their leases or other agreements;

(o)   sue    for    unpaid    rents       and        profits,       payments,        income      or

proceeds in the name of the Borrower; (p) maintain actions in

forcible     entry    and     detainer,             ejectment        for      possession        and

actions     in     distress       for        rent;          (q)     compromise           or    give

acquittances for rents and profits, payments, income or proceeds

that may become due; (r) undertake variances with respect to the

Property or subdivide the Property, and enter into any document


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in    connection     with   the    foregoing;           (s)     to   acquire     and   place

property insurance on the property; (t) to manage, access, and

transfer funds to and from, or close, bank accounts currently

maintained     in    connection       with          management       of    the   property,

specifically        JPMorgan      Chase       Bank,        N.    A.,      account      number

885886465; and (u) do any lawful acts reasonably requested by

Chase to protect the security hereof and use such measures,

legal and equitable, reasonably requested by Chase to implement

and    effectuate     the   provisions             of   the     Mortgage    or   the    Loan

Documents; and

       (v)    granting Chase such other relief as the Court deems

proper.

       DATED this 11th day of March, 2011.



                                          /s/Sandy G. Robinson
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Defendant’s Address:


AIG Baker Orange Beach Wharf, L. L. C
c/o A.B. Shopping Center Properties, Inc.
1701 Lee Branch Lane
Birmingham, AL 35242
Attn: Mr. Ron Day




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